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IN THE UNlTED STATES DISTRICT COURT ' 'I=l!.Eo BY l_._é£_v_/__ n,c,
WESTERN I)IVISION oF TENNESSEE

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BANCoRP souTH BANK, CLERK U.Si D!M_CT O_OURT
W!D UF let ttttt°tt-S
Plaintii`f,
vs. ClvlL ACTIoN No. 04-2420-B

JUSTIN HERTER A/K/A BARRY

J. HERTER, CAPITOL MANAGEMENT,
lNC., ROBERT POWELL, JANET
POWELL AND SILVESTRE LOERA,

Defendants.

 

'PRO~PQS-ED AMENDED SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held on July 7, 2005 Present were
Catherine B. Clayton, counsel for plaintiff; Kevin Snider, counsel for Justin Herter and Capitol
Management; and J ames S. Strick]and, counsel for Robert Powell, Janet Powell and Silvestre Loera.
At the conference the following dates were established as the final dates for:

COMPLETING ALL DISCOVERY: Deccmber 9, 2005

(a) REQUEST FOR PROD UCTION, INTERROGATORIES and REQUEST FOR
ADMISSlONS: Septernber 9, 2005

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’ s Experts: September 8, 2005

(ii)Defendant’s Experts: October 8, 2005
(iii) Supplementation under Rule 26(e): October 22, 2005

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(c) DEPOSITIONS: December 9, 2005
FILING DISPOSIT]VE MOTIONS: January 9, 2005
FINAL LIST OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: 45 days before trial

(b) for Defendant: 30 days before trial.

Parties shall have § days after service of final list of witnesses and exhibits to file objections
under Rule 26(a)(3).

The trial of this matter is expected to last g days. The presiding judge will set this matter
for NON-JURY TRIAL. In the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

The Plaintiff agrees to answer discovery propounded by Justin Herter and Capital
Management on December 30, 2004 within 30 days of this order.

Interrogatories, Request for Production and Requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond bythe deadline for completion
of discovery. For example, if the FRCP allow 30 days for a party to respond, then the discovery
must be submitted at least 30 days prior to the deadline for completion of discovery

Motion to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or the service of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery deadline, unless the tie for filing of such
motion is extended for good cause shown, or the objection to the default, response, answer, or
objection shall be waived.

The parties are reminded that pursuant to Local Rule ll (a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed Order
and a Certificate of Consultation_

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. lf a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required

The parties have not consented to a trial before the magistrate judge

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The parties are ordered to engage in court-annexed attorney mediation or private mediation

on or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice Absent
good cause shown, the scheduling dates set by this order wi ll not be modified or extended

IT lS SO ORDERED.

APPROVED FOR ENTRY:

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S. THOMAS ANDERSON

UNITED ST ES AGISTRATE JUDGE
DATE:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02420 was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

